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 5
                                  UNITED STATES DISTRICT COURT
 6                               EASTERN DISTRICT OF CALIFORNIA
                                      SACRAMENTO DIVISION
 7

 8
     JUDY LOPEZ,                                        Case No.: 2:11-CV-00695-MCE-KJN

 9
                    Plaintiff,

10
             vs.                                        NOTICE OF SETTLEMENT

11
     CAPITAL MANAGEMENT SERVICES, L.P.

12
                    Defendant.

13

14           NOW COMES the Plaintiff, JUDY LOPEZ, by and through the undersigned counsel and

15   hereby informs the court that a settlement of the present matter has been reached and is in the

16   process of finalizing settlement, which Plaintiff anticipates will be finalized within the next 40

17   days.

18           Plaintiff therefore requests that this honorable court vacate all dates currently set on

19   calendar for the present matter.

20                                        Respectfully Submitted,

21   DATED: April 15, 2011                KROHN & MOSS, LTD.

22

23                                        By: /s/ James D. Pacitti                    _

24                                                James D. Pacitti
                                                  Attorney for Plaintiff
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                                            Notice of Settlement
           Case 2:11-cv-00695-MCE-KJN Document 6 Filed 04/15/11 Page 2 of 2


 1

 2                                 CERTIFICATE OF SERVICE
 3          I hereby certify that on April 15, 2011, I electronically filed the foregoing Notice of
 4   Settlement with the Clerk of the Court by using the CM/ECF System. I further certify that on
 5   April 15, 2011, I served all counsel of record with a copy of this document by way of the
 6   CM/ECF system.
 7

 8

 9                                       By:    /s/ James D. Pacitti     _
10                                              James D. Pacitti, Esq.
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                                          Notice of Settlement
